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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

NATIONAL TREASURY EMPLOYEES UNION,
et. al.,

                        Plaintiffs,
                        v.
                                                                  No. 1:25-cv-00381-ABJ
RUSSELL VOUGHT, in his official capacity as
Acting Director of the Consumer Financial protection
Bureau, et al.,
                       Defendants.

     NOTICE REGARDING NEW YORK’S MOTION TO PARTICIPATE IN ORAL
       ARGUMENT AS AMICUS CURIAE ON BEHALF OF THE STATES FOR
          PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

        1.      Earlier this afternoon New York moved pursuant to Local Civil Rule 7(o)(6) to

participate at the oral argument scheduled on March 3, 2025 for plaintiffs’ motion on behalf of the

Amici States (the “Motion”). See ECF No. 34. As noted in the Motion, Plaintiffs consent to New

York’s participation, and counsel for New York had not received Defendants’ position on the

Motion as of the time of filing. See id. at 1. Immediately after completing the filing, counsel for

New York received Defendants’ position on the Motion. New York offered, and Defendants

agreed, that New York would notify the court of this crossing of paths and file Defendants’ position

in its entirety, as follows:

        “Defendants take no position on Amicus’s motion to participate in oral argument but are
        concerned that a liberal construction of Local Civil Rule 7(o)(6) permitting States or others
        with generalized interests common to all members of the public to participate routinely as
        Amicus in oral argument in cases against the Federal Government may undermine judicial
        and party economy. Unlike Supreme Court and Courts of Appeals opinions, district court
        opinions do not create binding precedent and Amicus’s participation is inconsistent with
        equitable principles requiring the party seeking an injunction to show all required factors
        and for any injunctive relief to be narrowly tailored to redress the plaintiffs’
        injuries. Amicus’s interests here are more generalized than those at issue in cases where
        amici have been permitted to participate. E.g., Motion, Common Cause v. Trump, No.1:20-
        cv-02023 (D.D.C. Sept. 21, 2020). If the Court permits Amicus participation, it may
        consider a time limit for Amicus to present argument. See Minute Order, Common Cause

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      (D.D.C. Sept. 22, 2020); Minute Order, United States v. CVS Health Corp., No. 1:18-cv-
      2340 (D.D.C. June 7, 2019).”

Dated: February 27, 2025                     Respectfully submitted,

                                                LETITIA JAMES
                                                 Attorney General
                                                   State of New York

                                                By: /s/ Christian Reigstad
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